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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

LAMONTE MCINTYRE &,
ROSE LEE MCINTYRE,

                                     Plaintiffs,

        v.                                                  Case No. 2:18-cv-02545-KHV-KGG

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

                                     Defendants.


                        Unopposed Joint Motion for Extension of Time

        Defendants jointly move the court for an extension of time to and including October 28,

2022, to file a response to the Motion to Modify Protective Order filed by The Midwest Innocence

Project. Doc. 722. The response is presently due October 21, 2022. Defendants intend to file a

joint response and counsel have been involved in other matters and will be unable to complete the

response by the current response deadline. Counsel for The Midwest Innocence Project have been

consulted about this motion and do not object to the requested extension of time.

                                             Respectfully submitted,

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                                      Certificate of Service

        I hereby certify on the 21st day of October, 2022, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system which will send a notice of electronic filing to
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